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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                             CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, Secretary of the
     Department of Defense, et al.,

           Defendants.
     ___________________________________/

     COLONEL FINANCIAL MANAGEMENT
     OFFICER, et al., on behalf of himself and others
     similarly situated,

           Plaintiffs,

     v.                                             CASE NO. 8:22-cv-1275-SDM-TGW

     LLOYD AUSTIN, Secretary of the
     Department of Defense, et al.,

           Defendants.
     ___________________________________/

                            ORDER SCHEDULING BRIEFING
                            AND HEARING ON MOOTNESS

           On August 24, 2021, the Secretary of the Department of Defense issued the

     COVID-19 vaccination mandate. On October 15, 2021, service members in each

     branch of the Armed Forces sued (Doc. 1) to enjoin the mandate. On February 18,

     2022, an order (Doc. 60) granted preliminary injunctive relief on behalf of a Naval

     officer and a Marine Corps officer, each of whom under the Religious Freedom Res-

     toration Act claimed protection against involuntary injection of the available
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     COVID-19 vaccines. On April 21, 2022, an order (Doc. 173) granted preliminary in-

     junctive relief on behalf of another RFRA-protected service member in the Marine

     Corps. On June 2, 2022, an order (Doc. 194) severed the plaintiffs by branch of ser-

     vice (Army, Navy, Marine Corps, Air Force, and Coast Guard), and stayed each ac-

     tion except the Marine Corps action in deference to actions in other districts in which

     RFRA-protected service members pursue classwide injunctive relief on behalf of their

     branch of service only. See, e.g., Navy SEALs 1–26 v. Biden, No. 4:21-cv-1236 (N.D.

     Tex.) (O’Connor, J.) (Navy); Doster v. Kendall, No. 1:22-cv-84-MWM (S.D. Ohio)

     (McFarland, J.) (Air Force). On August 18, 2022, an order (Doc. 229) in the Marine

     Corps action certified a class of RFRA-protected service members in the Marine

     Corps and issued preliminary injunctive relief on behalf of the class.

            The defendants have appealed (Docs. 115, 196, 245) the preliminary injunc-

     tions on behalf of the individual plaintiffs and the preliminary injunction on behalf of

     the Marine Corps class. The appeals pend. Navy Seal 1 v. Secretary of the United States

     Department of Defense, No. 22-10645 (11th Cir.); Captain v. Secretary of the U.S. Depart-

     ment of Defense, No. 22-12029 (11th Cir.); Chief Warrant Officer 4 v. Secretary of the

     United States Department of Defense, 22-13522 (11th Cir.).

            On December 8, 2022, the United States House of Representatives passed

     H.R. 7776, the James M. Inhofe National Defense Authorization Act for Fiscal Year

     2023. Titled “Recission of COVID-19 Vaccination Mandate,” Section 525 of the

     2023 NDAA states, “Not later than 30 days after the date of the enactment of this

     Act, the Secretary of Defense shall rescind the mandate that members of the Armed

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     Forces be vaccinated against COVID-19 pursuant to the memorandum dated Au-

     gust 24, 2021[.]” (Doc. 252-1 at 3–4 in the Marine Corps action) On December 9,

     2022, the defendants moved (Doc. 252) to stay the Marine Corps action pending the

     anticipated enactment of the 2023 NDAA. On December 15, 2022, the Senate

     passed the 2023 NDAA. 1 On December 23, 2022, President Biden signed the 2023

     NDAA into law, which began the thirty-days within which the Secretary must re-

     scind the mandate. 2

            Although requesting an “emergency” stay in the district court on grounds of

     mootness (attachment 1) and filing a supplemental memorandum contending that

     mootness warrants limiting discovery (attachment 2), the defendants have filed in the

     Eleventh Circuit a one-paragraph letter that announces the enactment of the 2023

     NDAA but neither suggests mootness nor requests a stay or abatement of the appeal.

     In the Fifth Circuit appeal from the Navy injunction, the appellants have moved to

     abate the appeal for mootness (attachment 3), and the Fifth Circuit has directed the

     parties to file supplemental letter briefs directed to mootness (attachment 4). In the

     Sixth Circuit appeal from the Air Force injunction, the appellants have cited the 2023

     NDAA’s “significant affect” on the case and have moved to extend the time within

     which to petition for en banc review (attachment 5), and the Sixth Circuit has granted




              1
                https://www.armed-services.senate.gov/press-releases/reed-inhofe-praise-senate-passage-
     of-the-fiscal-year-2023-national-defense-authorization-act
            2
              https://www.whitehouse.gov/briefing-room/statements-releases/2022/12/23/statement-
     by-the-president-on-h-r-7776-the-james-m-inhofe-national-defense-authorization-act-for-fiscal-year-
     2023/
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     the motion (attachment 6). Because of the 2023 NDAA’s prospective effect on the

     administration of the Armed Forces and the rights of service members, an expedited

     schedule to address mootness is warranted.

           •     Not later than TWENTY-FOUR HOURS after the Secretary rescinds

                 the COVID-19 mandate in accord with the 2023 NDAA, the defend-

                 ants must file in the two above-styled actions a notice attaching the full

                 text of the rescinding document.

           •     The defendants remain obligated to PROMPTLY file a notice contain-

                 ing any further directive, guidance, or similar paper from the Secretary,

                 the Navy, or the Marine Corps implementing or explaining the rescis-

                 sion.

           •     Not later than SEVEN DAYS after the filing of the notice of recission,

                 the defendants must in the two above-styled actions address mootness

                 in a brief not exceeding fifteen pages.

           •     Not later than SEVEN DAYS the defendants’ brief, the plaintiffs may

                 respond in a brief not exceeding fifteen pages.

           •     By separate notice, the clerk will schedule a consolidated hearing to oc-

                 cur soon after the filing of the memorandums addressing mootness. Af-

                 ter the hearing, an order will expeditiously address the mootness of the

                 two above-styled actions, including perhaps a Rule 62.1 indicative rul-

                 ing, if indicated.



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           The clerk is directed to file this order in the two above-styled actions. After fil-

     ing the order in 8:21-cv-2429, the clerk must transmit — as a supplement to the rec-

     ord-on-appeal — the order and the attachments to the Eleventh Circuit in appeal 22-

     10645. After filing the order in 8:22-cv-1275, the clerk must transmit — as a supple-

     ment to the record-on-appeal — the order and the attachments to the Eleventh Cir-

     cuit in appeals 22-12029 and 22-13522.

           ORDERED in Tampa, Florida, on January 10, 2023.




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